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se r_ tested swiss v. menard seen Wigsem, 17-¢r~60`17»e;rs~;rws . ' '
Dear' Magistrste lodge Feldmen:

Esrlier todey, the government filed a respo`nse, docketed ss Itcm 38 relating to the
defense _s Motion to Dismiss. I respectfully request that the Court permit the defense to reply to

the government s response by November 20“1.AUSA Gregory has indicated that he does not
object to this request

R.es tt`ully submiW,

nneM. B(ué/(.

Assistent Federsl Public befender -

_ cc: Dougls.s Gregory, AUSA (vie fex)

 

